






Becker v. State






COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS





IN RE


REGINALD ARLEIGH NOBLE,


RELATOR.

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No. 08-11-00185-CR

AN ORIGINAL PROCEEDING 

IN MANDAMUS






MEMORANDUM  OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator has filed a petition for writ of mandamus, complaining of the district clerk’s
failure to forward a notice of appeal to this Court.  The petition does not comply with the rules
governing original proceedings.  See Tex.R.App.P. 52.3(j), (k).  Moreover, the petition indicates
that Relator is attempting to appeal the denial of habeas relief from a felony conviction in Dallas
County.  We may issue a writ of mandamus to a district clerk only if it is necessary to enforce our
jurisdiction.  See Tex.Gov’t Code Ann. § 22.221(a)(West 2004); In re Washington, 7 S.W.3d
181, 182 (Tex.App.--Houston [1st Dist.] 1999, orig. proceeding).  Absent an order transferring a
case to this Court, we do not have jurisdiction over appeals from Dallas County.  See Tex.Gov’t
Code Ann. § 22.201(i)(West Supp. 2010).  We also lack jurisdiction over matters related to
post-conviction writs of habeas corpus.  See Ater v. Eighth Court of Appeals, 802 S.W.2d 241,
243 (Tex.Crim.App. 1991); In re McAfee, 53 S.W.3d 715, 718 (Tex.App.--Houston [1st Dist.]
2001, orig. proceeding).  For these reasons, the petition for writ of mandamus is denied. 
Relator’s motion for temporary relief is also denied.

June 29, 2011
DAVID WELLINGTON CHEW, Chief Justice

Before Chew, C.J., McClure, and Rivera, JJ.

(Do Not Publish)


